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                  EXHIBIT 3
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A federal court just released the settlement deal between
Epstein and Giuffre
     npr.org/2022/01/03/1069887001/jeffrey-epstein-virginia-giuffre-settlement-deal


National

Updated January 3, 202212:22 PM ET

By

Bill Chappell




Virginia Giuffre speaks during a news conference outside a Manhattan court in New York on
Aug. 27, 2019.

Bebeto Matthews/AP
The settlement deal between disgraced financier Jeffrey Epstein and Virginia Giuffre, one of
his main accusers, was publicly released Monday, after being kept secret for more than a
decade.

The 2009 agreement was filed under seal in two court cases that pit Giuffre against the U.K.'s
Prince Andrew and attorney Alan Dershowitz. Giuffre says Epstein arranged for her to have
sex with the men on multiple occasions when she was a minor. At the time, her last name was
Roberts.




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In the agreement, Giuffre agreed to end her lawsuit, filed as Jane Doe No. 102 vs. Jeffrey
Epstein, in exchange for Epstein agreeing to give Giuffre $500,000 "and other valuable
consideration," an accommodation that was not explained in detail.

Some terms of the deal also apply to "second parties" and "other potential defendants,"
categories that could apply to many of Epstein's alleged co-conspirators. For instance, the
agreement states that upon taking effect, it will "remise, release, acquit, satisfy, and forever
discharge" anyone who could be a potential defendant from state or federal lawsuits filed by
Giuffre.

The expansive terms of the agreement apply "from the beginning of the world to the day of
this release."




Law


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Alan Dershowitz Denies Epstein Rape Accusations And Defends Role In
Sweetheart Deal
District Judges Loretta A. Preska and Lewis A. Kaplan ruled in December that the entire
document should be publicly released, saying that no parties in the legal proceedings had
shown "good cause" for it to remain obscured. Epstein died in 2019; his death was ruled a
suicide.

The 12-page settlement is "a final resolution of a disputed claim and is intended to avoid
litigation," the document states. But its language is certain to be parsed in the ongoing court
cases involving Dershowitz and Andrew. While parts of the deal seek to limit the legal
exposure of people in Epstein's inner circle, it's uncertain how it could be applied in those
lawsuits.

Andrew's legal team says the 2009 arrangement voids any claims Giuffre might have against
him. As the BBC reports, the Duke of York's lawyer, Andrew B. Brettler, has previously said
that the Epstein settlement "releases Prince Andrew and others from any purported liability
arising from the claims Ms Giuffre asserted against Prince Andrew here."

As for Dershowitz, Giuffre filed her suit against the famous Harvard Law School professor in
2019. And because it's a defamation case, it also pertains to the time period after the
settlement took effect 10 years earlier.

The settlement is emerging less than a week after Ghislaine Maxwell, Epstein's longtime
partner, was found guilty of sex trafficking a minor and other crimes. Giuffre and numerous
other accusers say Maxwell and Epstein lured underage girls into their orbit by promising to
improve their lives, with sexual exploitation as their true goal.




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In a deposition that was made public in 2020, Giuffre named a number of high-profile men
with whom she said she was told to have sex, including Dershowitz, Andrew and former
Senate Majority Leader George Mitchell. All three men have denied the allegations.




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